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   P.O. BOX 26648
   Oklahoma City, OK 73126-0648




         PATRICIA L STEALS
         1009 HAZEL AVE
         AMBRIDGE PA 15003

                                                                                               06/16/21



                                                                                                           1009 HAZEL AVE
                                                                                                        AMBRIDGE PA 15003




         Dear Homeowner:

         We completed our required yearly escrow review for your account this month. The review
         shows that you have an escrow shortage, which means the escrow portion of your monthly
         payment will be increasing.

         We understand this may be disheartening news given the current circumstances, but we want
         to assure you that this doesn't affect your short-term mortgage assistance plan as a customer
         who is affected by the coronavirus pandemic. Your payments will continue to be delayed
         through September 2020 (or longer if you request an extension). During this time, we will
         continue to pay property taxes and insurance premiums.

         The new payment amount reflected on the annual escrow statement (enclosed) will be used to
         calculate what is owed when the delayed payment period ends. If you are having trouble
         getting caught up at the end of your short-term mortgage assistance plan, you’ll be able to
         apply for additional mortgage assistance at that time.

         Customer Service is available at 800-654-4566 on weekdays from 8 a.m. to 7 p.m. and
         Saturdays from 9 a.m. to 1 p.m. Central time.

         Sincerely,

         Midland Mortgage, a division of MidFirst Bank

         Notice: If you have received a bankruptcy discharge of the debt secured by the Mortgage/Deed of Trust, or you are
         currently in bankruptcy under the protection of the automatic stay, this letter is not an attempt to collect the debt from
         you personally and is for informational purposes only. If your loan was in default at the time MidFirst Bank obtained it,
         and you have not filed bankruptcy or received a discharge of the debt secured by the Mortgage/Deed of Trust, we are
         required to inform you that this communication is from a debt collector, this is an attempt to collect a debt, and any
         information obtained will be used for that purpose.
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                                                             REPRESENTATION OF PRINTED DOCUMENT                            Page   3 of 6
                             Midland Mortgage
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                             Oklahoma City, OK 73126-0648
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                                                                                                    1009 HAZEL AVE
                                                                                                AMBRIDGE PA 15003
                                                                                           Date Reviewed: 06/15/2021
                                                                               Next Escrow Cycle: Sep 2021 - Aug 2022


         PATRICIA L STEALS
         1009 HAZEL AVE
         AMBRIDGE PA 15003




                                                Escrow Account Statement
    Why am I           Midland Mortgage, a division of MidFirst Bank ("Midland") recently reviewed your escrow account.
    receiving          Part of your monthly mortgage loan payment (“mortgage payment”) goes into your escrow account to
                       pay recurring expenses on your behalf such as property taxes, insurance, and other items required by
    this
                       your loan documents. This statement shows how those expenses affect the amount of your monthly
    statement?         mortgage payment.

    Why did my         The most common reason escrow payments change is an increase or decrease in the amounts you
    payment            pay in property taxes and homeowner's insurance. If you have questions about a change in your
    change?            tax or insurance bills, please contact your local taxing authority or insurance agent.

    What do I          Please review your escrow statement below, which explains how the shortage will impact your
    need to do         monthly payment. The last page of this statement includes helpful answers to common escrow
                       questions.
    next?
    Important          If you have received a bankruptcy discharge of the debt secured by the Mortgage/Deed of Trust, or you are
                       currently in bankruptcy under the protection of the automatic stay, this letter is not an attempt to collect the debt
    Notices            from you personally and is for informational purposes only. If your loan was in default at the time MidFirst Bank
                       obtained it, and you have not filed bankruptcy or received a discharge of the debt secured by the
                       Mortgage/Deed of Trust, we are required to advise you that this communication is from a debt collector, this is
                       an attempt to collect a debt, and any information obtained will be used for that purpose.

                       Notice to Connecticut and North Carolina Residents: The purpose of this communication is to collect a debt.

                       Notice to Vermont Residents: This is an attempt to collect a debt and any information obtained will be used for
                       that purpose.


      New Monthly Mortgage Payment
      The amount needed in your escrow account to pay your expenses, such as property taxes or homeowner's insurance,
      has changed. Because of this, your mortgage payment has changed to $560.39 beginning with the 9/1/2021
      mortgage payment.

      Monthly Payment                                             Old Payment                  New Payment                   Change
      Principal & Interest                                        $288.19                      $288.19                       None
      Escrow Deposit plus Escrow Shortage or Surplus              $303.19                      $272.20                       Decrease
      Total Monthly Mortgage Payment                              $591.38                      $560.39                       Decrease




      Escrow Bills and Escrow Payment
      The following chart shows the breakdown of the amounts we anticipated to be paid from your escrow account since the
      last review and the new amounts we expect to pay from your escrow account between September 2021 and August
      2022.

      Escrow Bills                                   Old Amount                        New Amount                            Change
      Homeowners Ins                                 $734.00                           $746.00                               Increase
      County Tax                                     $498.14                           $498.13                               Decrease
      City/Town Tax                                  $574.78                           $574.77                               Decrease
      School District                                $1,435.75                         $1,435.75                             None
      Mi Premiums                                    $145.68                           $0.00                                 Decrease
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  Annual Total                                            $3,388.35                             $3,254.65                                Decrease

  Required Minimum Balance
  The required minimum balance is between 0 and 2 new monthly escrow payments and is determined by the terms of your loan
  documents, federal and/or state law. The new required minimum balance in your escrow account is $542.44

                                 Your lowest expected escrow balance:                                                                         $530.66
                                 Your required minimum balance                                                                                $542.44
                                 The difference creates a shortage in your escrow account of:                                                 -$11.78
  Because the lowest expected escrow balance is less than the required minimum balance, there is a shortage of -$11.78 in your
  escrow account. This shortage is illustrated in the table below, and can be found by calculating the difference in the
  bolded numbers in the Anticipated Balance and Required Balance columns.


  Expected Escrow Account Transactions
  The following chart shows the amounts we expect to deposit into and pay out of your escrow account during the next escrow cycle,
  as well as the required balance for each month. These projections are based on the most recent bills paid from your escrow
  account. The actual amounts billed by your insurance company and by your taxing authority in the upcoming year may be
  different and could result in changes to your monthly mortgage payment when your escrow account is reviewed in the
  future. If you become aware of a change to your insurance or taxes, you may wish to contact Midland to have your escrow
  account reviewed to avoid a large shortage or surplus in the future.

                            EXPECTED PAYMENTS            EXPECTED PAYMENTS                                              ANTICIPATED         REQUIRED
      MONTH-YEAR                TO ESCROW                   FROM ESCROW                 DESCRIPTION                        BALANCE           BALANCE
                                                                                        Starting Balance                     $734.22           $746.00
       Sep-21                    $271.22                         $0.00                                                     $1,005.44          $1,017.22
       Oct-21                    $271.22                         -$746.00               HAZARD                               $530.66           $542.44
       Nov-21                    $271.22                         $0.00                                                       $801.88           $813.66
       Dec-21                    $271.22                         $0.00                                                     $1,073.10          $1,084.88
       Jan-22                    $271.22                         $0.00                                                     $1,344.32          $1,356.10
       Feb-22                    $271.22                         -$498.13               COUNTY TAX                         $1,117.41          $1,129.19
       Mar-22                    $271.22                         -$574.77               CITY/TOWN TAX                        $813.86           $825.64
       Apr-22                    $271.22                         $0.00                                                     $1,085.08          $1,096.86
       May-22                    $271.22                         $0.00                                                     $1,356.30          $1,368.08
       Jun-22                    $271.22                         $0.00                                                     $1,627.52          $1,639.30
       Jul-22                    $271.22                         $0.00                                                     $1,898.74          $1,910.52
       Aug-22                    $271.22                         -$1,435.75             SCHOOL DISTRICT                      $734.21           $745.99
       Total                     $3,254.64                       -$3,254.65


  Escrow Account History
  This chart shows the estimated and actual activity in your escrow account from 11/1/2020 through 6/1/2021. If the servicing of your
  loan recently transferred to Midland or your loan has analyzed within the last 12 months the table below may be blank or show a
  history of less than 12 months. If the last escrow account statement provided by Midland was issued to you more than 12 months
  ago, additional months of transaction history for transactions more than 12 months in the past is included on page 5 of this
  statement. The previously required minimum balance and the actual minimum balance reached are indicated by bold font in the
  chart below.

                     PAYMENTS TO                                         PAYMENTS FROM                                                  ESCROW
                       ESCROW                                               ESCROW                                                      BALANCE
   MONTH-
                Estimated         Actual        Estimated          Description            Actual             Description        Estimated            Actual
    YEAR
                                                                                                   Starting Balance                $540.47        -$1,742.37
   Nov-20          $282.36           $0.00         -$24.28       MI PREMIUMS                -$24.28         MI PREMIUMS            $798.55        -$1,766.65
   Dec-20          $282.36           $0.00         -$24.28       MI PREMIUMS                -$23.62        MI PREMIUMS*           $1,056.63       -$1,790.27
   Jan-21          $282.36           $0.00         -$24.28       MI PREMIUMS                -$23.62        MI PREMIUMS*           $1,314.71       -$1,813.89
   Feb-21          $282.36           $0.00         -$24.28       MI PREMIUMS              -$498.13          COUNTY TAX*           $1,572.79       -$2,312.02
   Feb-21             $0.00          $0.00        -$498.14       COUNTY TAX                 -$23.62         MI PREMIUMS           $1,074.65       -$2,335.64
   Feb-21             $0.00          $0.00           $0.00                                -$574.77         CITY/TOWN TAX          $1,074.65       -$2,910.41
   Mar-21          $282.36           $0.00         -$24.28       MI PREMIUMS                -$23.62        MI PREMIUMS*           $1,332.73       -$2,934.03
   Mar-21             $0.00          $0.00        -$574.78     CITY/TOWN TAX                  $0.00                                $757.95        -$2,934.03
   Apr-21          $282.36           $0.00         -$24.28       MI PREMIUMS                -$23.62        MI PREMIUMS*           $1,016.03       -$2,957.65
   May-21          $282.36           $0.00           $0.00                                    $0.00                               $1,298.39       -$2,957.65
   Jun-21          $282.36           $0.00           $0.00                                    $0.00                               $1,580.75       -$2,957.65
     Total       $2,258.88           $0.00      -$1,218.60                              -$1,215.28

  * The single asterisk indicates a difference in the amount or date of the estimated and actual payouts from escrow.
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   Frequently Asked Escrow Account Questions
    Q1 What is an escrow account?
      Part of your monthly mortgage payment includes an amount for your loan’s principal and/or interest, but it also
      includes an amount for property-related expenses (such as property taxes, insurance, and other items required by
      your loan documents). These amounts are deposited into an escrow account associated with your mortgage loan.
      With an escrow account, you pay a portion of your property taxes, insurance, and other items required by your loan
      documents every month instead of once or twice a year.

    Q2 Why did Midland change my monthly mortgage payment amount?
      Midland does not change your principal and interest monthly payments unless you have an adjustable interest rate
      mortgage loan or an interest-only period on your loan. Increases or decreases to the escrow portion of your monthly
      mortgage payment are usually because of changes in your taxes or insurance.
          Property Taxes: Your property taxes may change when your property is reassessed, when the applicable tax
          rate changes, or when a special tax or assessment is charged by your local taxing authority. Contact your local
          taxing authority if you have questions about changes to your property taxes.
          Homeowner’s and Flood Insurance: Your premium for insurance covering your property can change when
          your coverage changes or if the rate that your insurance company charges for your coverage changes. Contact
          your insurance carrier or agent with questions about your insurance coverage and the cost of your coverage.
          You may also contact our Insurance Service Center at 1-866-439-2712 to discuss any changes in your
          insurance bills and your options.

    Q3 How often will my escrow payment change?
      Your monthly escrow payment, and thus your monthly mortgage payment, may change at least once a year when
      we review your escrow account as required by federal and state law. Your escrow payment might be recalculated
      more than once a year if there are substantial changes in your escrow bills (for example, you obtain homeowner’s
      insurance at a reduced rate or you receive an exemption from paying the full amount of your property taxes).

    Q4 Will my automatic payments change to cover my new payment amount?
      If you use Midland’s Automatic Payment Plan, we’ll automatically adjust the withdrawal amount to the new payment
      amount upon its effective date. If you use an automatic payment program other than Midland’s, please contact your
      payment administrator and ask them to update your payment to the new amount.

    Q5 What should I do if I think my escrow bills are wrong?
      You should verify billing amounts with your insurance carrier or taxing authority if you believe your escrow account
      has been charged incorrectly. If the amounts have changed, provide Midland with proof of the change from the
      taxing authority or insurance carrier so that we can adjust your escrow payment accordingly.

    Q6 What are my options if my payment increased and I can’t afford a higher mortgage
       payment?
      If a payment increase causes a financial hardship and you cannot afford the larger monthly mortgage payment, call
      us at 1-800-552-3000 to discuss mortgage assistance options that may be available to you.




    Visit www.MyMidlandMortgage.com/Escrow for additional
    helpful answers to frequently asked escrow questions or
                 contact us at 1-800-654-4566.
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      ALDRIDGE PITE, LLP
      4375 Jutland Drive, Suite 200
      P.O. Box 17933
      San Diego, CA 92177-0933
      Telephone: (858) 750-7600
      Facsimile: (619) 590-1385




                                UNITED STATES BANKRUPTCY COURT

                     WESTERN DISTRICT OF PENNSYLVANIA - PITTSBURGH
      In re                                           Case No. 21-20027-CMB
      PATRICIA L. STEALS,                             Chapter 13

                       Debtor(s).                     PROOF OF SERVICE


              I, Melissa Gonzalez, declare that:

              I am employed by Aldridge Pite, LLP. My business address is: Fifteen Piedmont Center,

     3575 Piedmont Road, N.E., Suite 500, Atlanta, GA 30305. I am over the age of eighteen years
     and not a party to this case.

              On July 28, 2021, I caused the NOTICE OF MORTGAGE PAYMENT CHANGE to be

     served in said case by electronic means through the court’s CM/ECF system or through United

     States Mail, addressed as follows: SEE ATTACHED SERVICE LIST.

              I declare under penalty of perjury that the foregoing is true.



                                                     /s/ Melissa Gonzalez
                                                     Melissa Gonzalez




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     PROOF OF SERVICE
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                                       SERVICE LIST

     DEBTOR(S)
     (VIA US MAIL)
     Patricia L. Steals
     1009 Hazel Ave.
     Ambridge, PA 15003

     DEBTOR(S) ATTORNEY
     (VIA ELECTRONIC NOTICE)
     Lauren M. Lamb

     CHAPTER 13 TRUSTEE
     (VIA ELECTRONIC NOTICE)
     Ronda J. Winnecour




                                             -2-
     PROOF OF SERVICE
